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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA,                                   Criminal No. 20-578 (JMV)

 - vs –

 JEFFREY ANDREWS,                                      AMENDED SCHEDULING ORDER
 CHAD BEENE,
 ADAM BROSIUS, and
 ROBERT SCHNEIDERMAN,

                          Defendants.


          THIS MATTER having come before the Court upon the joint application of Defendants

Jeffrey Andrews (Michael J. Engle, Esq., appearing), Chad Beene (Michael Wynne, Esq.,

appearing), Adam Brosius (Mark A. Berman, Esq., appearing), and Robert Schneiderman (John

A. Lord, Esq., appearing), for entry of an order extending the schedule for the filing of pretrial

motions, and the Government (Jason S. Gould, Assistant U.S. Attorney, appearing) having

consented to the application, and the Court finding that a failure to grant the requested extension

would deny counsel for Defendants the reasonable time necessary for effective preparation taking

into account the exercise of due diligence and would thereby result in a miscarriage of justice for

Defendants, and the Court having previously excluded the period from August 13, 2021 to the start

of trial as excludable delay under 18 U.S.C. § 3161, and for good cause shown:

          IT IS HEREBY ORDERED:

          Defense Pretrial Motions shall be filed on or before December 15, 2021;

          Government opposition shall be filed on or before February 15, 2022;

          Defense replies shall be filed on or before March 1, 2022;

          Oral argument on the motions will be held on March 14, 2022 at 10:30 a.m.




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   SIGNED on this 6th day of October, 2021.



                                      Honorable John Michael Vazquez
                                      UNITED STATES DISTRICT JUDGE




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